                 Case 4:16-cv-00643 Document 137 Filed on 06/19/18 in TXSD Page 1 of 1
  AO 435
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200 Public Square, Suite 1400                                                           Cleveland                        OH                 44114
8. CASE NUMBER                                   9. JUDGE                                                  DATES OF PROCEEDINGS
4:16-cv-00643                                    Vanessa D. Gilmore                     10, FROM 5/7/2018              11. TO 5/15/2018
12. CASE NAME                                                                                             LOCATION OF PROCEEDINGS
Tow V. Organo Gold Int'l, Inc.                                                          13. CITY Houston               14. STATE TX

□
15. ORDER FOR
    APPEAL                       CRIMINAL        □                                      r~1 CRIMINAL JUSTICE ACT         [~~1 BANICRUPTCY
g NON-APPEAL________________ [H] CIVIL                                                  □ IN FORMA PAUPERIS              □ OTHER

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                        DATE(S)                            PORTION(S)                       DATE(S)
□    VOIR DIRE
~~1 OPENING STATEMENT (Plaintiff)
                                                                                    [>^ TESTIMONY (Specify Witness)
                                                                                    Scott Weinqust________               5/10/2018
     OPENING STATEMENT (Defendant)                                                  George Skirm_________                5/10/2018
  1 CLOSING ARGUMENT (Plaintiff)                                                    I    I PRE-TRIAL PROCEEDING (Spey)
"jI CLOSING ARGUMENT (Defendant)
  I OPINION OF COURT____________

□    JURY INSTRUCTIONS
~| SENTENCING
                                                                                    [M. OTHER (Specify)
                                                                                    Gary Abdalla (Testimony)             5/11/2018
     BAIL HEARING
“I
                                                                                17. ORDER
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